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                                   UNITED STATES JUDICIAL PANEL
                                                on
                                    MULTIDISTRICT LITIGATION



IN RE: JUUL LABS, INC., MARKETING, SALES
PRACTICES, AND PRODUCTS LIABILITY
LITIGATION                                                                                       MDL No. 2913



                                       (SEE ATTACHED SCHEDULE)



                            CONDITIONAL TRANSFER ORDER (CTO −92)



On October 2, 2019, the Panel transferred 5 civil action(s) to the United States District Court for the Northern
District of California for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407. See
396 F.Supp.3d 1366 (J.P.M.L. 2019). Since that time, 293 additional action(s) have been transferred to the
Northern District of California. With the consent of that court, all such actions have been assigned to the
Honorable William H. Orrick, III.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the Northern District of California and assigned to Judge Orrick.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Northern District of
California for the reasons stated in the order of October 2, 2019, and, with the consent of that court, assigned
to the Honorable William H. Orrick, III.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Northern District of California. The transmittal of this order to said Clerk shall be stayed 7 days
from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day
period, the stay will be continued until further order of the Panel.



                                                           FOR THE PANEL:

                               Oct 27, 2022

                                                           John W. Nichols
                                                           Clerk of the Panel
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IN RE: JUUL LABS, INC., MARKETING, SALES
PRACTICES, AND PRODUCTS LIABILITY
LITIGATION                                                                  MDL No. 2913



                    SCHEDULE CTO−92 − TAG−ALONG ACTIONS



  DIST     DIV.       C.A.NO.      CASE CAPTION


NEW YORK SOUTHERN

  NYS        1       22−08860      Wakefield v. Juul Labs, Inc. et al

PENNSYLVANIA MIDDLE

                                   Huntingdon County Career and Technology Center v. JUUL
  PAM        1       22−01613      Labs, Inc. et al

PENNSYLVANIA WESTERN

  PAW        3       22−00182      FOREST HILLS SCHOOL DISTRICT v. JUUL LABS, INC.
